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 7
                           UNITED STATES DISTRICT COURT
 8
                          EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12
                     v.                            CR. NO. S-08-103 LKK
13
     JOHN P. PRUITT, et al.,
14                                                       O R D E R
                            Defendants.
15                                         /

16        The above-captioned case is a closed criminal case, where this

17   court dismissed charges against criminal defendants John Pruitt and
18   Darryl Berg.   The court is in receipt of the John Pruitt, Darryl

19   Berg, and Debra Berg’s notice that this case is related to Pruitt,

20   et al., v. County of Sacramento, et al., 2:10-cv-00416-WBS-KJN. In

21   this case the criminal defendants, John Pruitt and Darryl Berg, and

22   the wife of a criminal defendant, Debra Berg, bring claims as civil

23   plaintiffs against various government entities and law enforcement

24   officers arising out the arrest and prosecution in the criminal

25   matter.

26        After review of the cases, the court concludes that the above
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 1   captioned case, 2:08-cr-00103-LKK, is not related 2:10-cv-00416-

 2   WBS-KJN within the meaning of Local Rule 123(a), and the court

 3   therefore DECLINES to relate the two.

 4        IT IS SO ORDERED.

 5        DATED:   February 24, 2010.

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